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UNITED STATES DISTRICT COURT                                                         DATE FILED: 3/20/2024
SOUTHERN DISTRICT OF NEW YORK
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 PROFESSIONAL FIGHTERS LEAGUE, LLC,                             :
                                                                :
                                              Plaintiff,        :
                            -against-                           :
                                                                :           24-cv-1335 (VEC)
                                                                :
 TAKEOVER INDUSTRIES INC., also known as :                                      ORDER
 NXT LVL,                                                       :
                                                                :
                                              Defendant. :
 -------------------------------------------------------------- X

VALERIE CAPRONI, United States District Judge:

        WHEREAS on February 22, 2024, Plaintiff filed a Complaint against Defendant

Takeover Industries, Inc., also known as NXT LVL; Compl., Dkt. 1;

        WHEREAS because the Complaint did not allege sufficiently diversity of citizenship, the

Court ordered Plaintiff to file an amended complaint that cured the deficiencies, Order, Dkt. 4;

        WHEREAS on March 19, 2024, Plaintiff filed an Amended Complaint that added some

allegations about the parties’ citizenships but is still insufficient to allege diversity jurisdiction,

see Amended Compl., Dkt. 6;

        WHEREAS a corporation is “deemed to be a citizen of every State and foreign state by

which it has been incorporated and of the State or foreign state where it has its principal place of

business,” 28 U.S.C. § 1332(c);

        WHEREAS “a limited liability company has the citizenship of its members,” see Jean-

Louis v. Carrington Mortg. Servs., LLC, 849 F. App’x 296, 298 (2d Cir. 2021);

        WHEREAS a complaint premised upon diversity of citizenship must allege the

citizenship of natural persons who are members of an LLC and the place of incorporation and

principal place of business of any corporate entities that are members of the LLC (including the
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citizenship of any members of the LLC that are themselves LLCs), see Handelsman v. Bedford

Vill. Assocs. L.P., 213 F.3d 48, 51–52 (2d Cir. 2000); see also, e.g., In re Bank of Am. Corp.

Sec., Derivatives, and ERISA Litig., 757 F. Supp. 2d 260, 334 n.17 (S.D.N.Y. 2010);

       WHEREAS the Amended Complaint alleges that Plaintiff Professional Fighters League,

LLC is a limited liability company that is incorporated under the laws of the State of New York

and has a principal place of business in New York, see Amended Compl. ¶ 1;

       WHEREAS the Amended Complaint alleges that the sole member of the Plaintiff LLC is

a corporation but does not allege the citizenship of that member corporation, id. ¶ 4;

       WHEREAS it is unclear from the Amended Complaint if Defendant Takover Industries,

Inc. is a limited liability company or a corporation;

       WHEREAS the Amended Complaint alleges that Defendant Takeover Industries, Inc. is a

“limited liability company,” Amended Compl. ¶ 2;

       WHEREAS the Amended Complaint also alleges that Defendant has “shareholders,” id.

¶ 4, and that Defendant’s name contains the abbreviation “Inc.,” id. ¶ 2, which are characteristics

of a corporation rather than an LLC;

       WHEREAS the Amended Complaint does not allege properly Defendant’s citizenship

regardless of whether Defendant is an LLC or corporation;

       WHEREAS if Defendant is an LLC, the amended complaint does not allege the members

of the Defendant LLC or the citizenship of those members; and

       WHEREAS if Defendant is a corporation, the amended complaint lists only its principal

place of business and not its place of incorporation;

       IT IS HEREBY ORDERED that by no later than Tuesday, March 26, 2024, Plaintiff

must file a second amended complaint that cures the deficiencies described herein or the

complaint will be dismissed without prejudice for lack of subject matter jurisdiction.

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Specifically, Plaintiff must allege the citizenship of the corporation that is the sole member of

Plaintiff LLC by stating the corporation’s state of incorporation and principal place of busienss.

Plaintiff must also clarify whether Defendant is an LLC or a corporation and allege its

citizenship. If Defendant is an LLC, then the second amended complaint must list the LLC’s

members and the citizenship of each member. If Defendant is a corporation, then the second

amended complaint must state Defendant’s state of incorporation.



SO ORDERED.

                                                          ________________________
Date: March 20, 2024                                         VALERIE CAPRONI
      New York, New York                                   United States District Judge




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